1

2

3

4

5

6

7                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
8                                         AT SEATTLE

9    STATE OF WASHINGTON; STATE OF               Case No.: 2:25-cv-00127
     ARIZONA; STATE OF ILLINOIS; AND
10   STATE OF OREGON,

11                Plaintiffs,                    WILLIAM NELSON’S MOTION TO
                                                 INTERVENE AS DEFENDANT
12   vs.

13   DONALD TRUMP, IN HIS OFFICIAL CAPACITY
     AS PRESIDENT OF THE UNITED STATES; U.S.
14   DEPARTMENT OF HOMELAND
     SECURITY; BENJAMINE HUFFMAN, IN
15   HIS OFFICIAL CAPACITY AS ACTING SECRETARY
     OF HOMELAND SECURITY; U.S. SOCIAL
16   SECURITY ADMINISTRATION; MICHELLE KING,
     IN HER OFFICIAL CAPACITYAS ACTING
17   COMMISSIONER OF THE SOCIAL SECURITY
     ADMINISTRATION; U.S. DEPARTMENT OF STATE;
18   MARCO RUBIO, IN HIS OFFICIAL CAPACITY AS
     SECRETARY OF STATE; U.S. DEPARTMENT OF
19   HEALTH AND HUMAN SERVICES; DOROTHY
     FINK, IN HER OFFICIAL CAPACITY AS ACTING
20   SECRETARY OF HEALTH AND HUMAN SERVICES;
     U.S. DEPARTMENT OF JUSTICE; JAMES
21   MCHENRY, IN HIS OFFICIAL CAPACITY AS
     ACTING ATTORNEY GENERAL; U.S.
22   DEPARTMENT OF AGRICULTURE; GARY
     WASHINGTON, IN HIS OFFICIAL CAPACITY AS
23   ACTING SECRETARY OF AGRICULTURE; AND
     THE UNITED STATES OF AMERICA, WILLIAM
24   NELSON, US CITIZEN 425

25                Defendants.

26   \\

27   \\

28   \\
     WILLIAM NELSON’S MOTION TO INTERVENE AS DEFENDANT - 1
                                                                         WILLIAM NELSON
                                                                       1523 132ND ST STE, C418
                                                                        EVERETT, WA 98208
                                                                                  ♦
                                                                             (425) 800-8800
                                                                      william@seattleseahawks.me
1                               WILLIAM NELSON’S MOTION TO INTERVENE AS DEFENDANT

2            Pursuant to Rule 24 of the Federal Rules of Civil Procedure, William Nelson (hereinafter “Proposed

3            Intervenor”) respectfully submits this Motion to Intervene as a Defendant in the above-captioned matter.

4            Proposed Intervenor seeks to protect the interests of U.S. citizens and lawful permanent residents by

5            defending the proper interpretation of the Fourteenth Amendment’s Citizenship Clause and ensuring the

6            responsible allocation of taxpayer resources.

7

8                                                      INTRODUCTION

9            This case raises critical constitutional questions concerning the Fourteenth Amendment and the allocation

10           of public resources. As a U.S. citizen and taxpayer, Proposed Intervenor has a direct and substantial interest

11           in the outcome of this litigation. The plaintiffs’ expansive interpretation of the Citizenship Clause

12           undermines established constitutional principles, diverts public resources from lawful residents and

13           citizens, and sets dangerous precedents with far-reaching implications. Proposed Intervenor seeks to join

14           this action to ensure these interests are adequately represented.

15

16                                                   LEGAL STANDARD

17

18           Federal Rule of Civil Procedure 24 provides for intervention of right and permissive intervention:

19

20      1.   Rule 24(a)(2) - Intervention of Right: Intervention must be granted when the intervenor “claims an

21           interest relating to the property or transaction that is the subject of the action, and is so situated that

22           disposing of the action may as a practical matter impair or impede the movant’s ability to protect its

23           interest, unless existing parties adequately represent that interest.”

24

25      2.   Rule 24(b) - Permissive Intervention: A court may permit intervention when an intervenor “has a claim

26           or defense that shares with the main action a common question of law or fact.”

27                    Proposed Intervenor satisfies both standards for intervention.

28
     WILLIAM NELSON’S MOTION TO INTERVENE AS DEFENDANT - 2
                                                                                                WILLIAM NELSON
                                                                                              1523 132ND ST STE, C418
                                                                                               EVERETT, WA 98208
                                                                                                         ♦
                                                                                                    (425) 800-8800
                                                                                             william@seattleseahawks.me
1                                                     ARGUMENT

2

3                        I. Proposed Intervenor is Entitled to Intervene as a Matter of Right

4

5                   Proposed Intervenor satisfies the criteria for intervention of right under Rule 24(a)(2):

6

7              1.   Significant Interest: As a taxpayer and U.S. citizen, Proposed Intervenor has a direct interest in

8                   ensuring the proper interpretation of the Fourteenth Amendment and preventing the misallocation

9                   of public resources. The plaintiffs’ claims seek to divert public funds and judicial resources from

10                  lawful citizens and residents to individuals who do not qualify for protections under the

11                  Citizenship Clause.

12

13             2.   Potential Impairment: A ruling in favor of the plaintiffs would adversely impact Proposed

14                  Intervenor by diminishing the resources available for critical domestic priorities, such as

15                  supporting veterans, addressing homelessness, and improving services for lawful residents.

16

17             3.   Inadequate Representation: While the existing defendants may share some interests with

18                  Proposed Intervenor, they do not fully represent the broader public interest in preserving

19                  constitutional protections for U.S. citizens and lawful permanent residents.

20

21                          II. Proposed Intervenor Qualifies for Permissive Intervention

22

23         Alternatively, Proposed Intervenor should be permitted to intervene under Rule 24(b). Proposed

24         Intervenor’s defenses align with the core issues in this case, including the proper interpretation of the

25         Fourteenth Amendment and the allocation of taxpayer resources. Intervention will not unduly delay or

26         prejudice the adjudication of the plaintiffs’ claims but will instead ensure a comprehensive resolution of the

27         issues presented.

28
     WILLIAM NELSON’S MOTION TO INTERVENE AS DEFENDANT - 3
                                                                                           WILLIAM NELSON
                                                                                         1523 132ND ST STE, C418
                                                                                          EVERETT, WA 98208
                                                                                                    ♦
                                                                                               (425) 800-8800
                                                                                        william@seattleseahawks.me
1                                                   CONCLUSION

2

3          For the foregoing reasons, Proposed Intervenor respectfully requests that this Court grant the Motion to

4          Intervene as a Defendant in this matter. Proposed Intervenor also requests leave to file counterclaims and

5          defenses addressing the plaintiffs’ misinterpretation of the Fourteenth Amendment and the improper

6          diversion of public resources.

7

8          Respectfully submitted,

9

10
                                                                 ____________________________________
11                                                               WILLIAM NELSON
                                                                 Plaintiff Pro Se
12                                                               William Nelson
                                                                 1523 132ND ST SE STE C418
13                                                               Everett, WA 98208
                                                                 william@seattleseahawks.me
14                                                               425-800-8800

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     WILLIAM NELSON’S MOTION TO INTERVENE AS DEFENDANT - 4
                                                                                         WILLIAM NELSON
                                                                                       1523 132ND ST STE, C418
                                                                                        EVERETT, WA 98208
                                                                                                  ♦
                                                                                             (425) 800-8800
                                                                                      william@seattleseahawks.me
